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                                    Exhibit D
                                  Questionnaire
                               Web Survey Screen Shots




                                                                             E4
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